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 5
      Attorne S for Plaintiffs
 6    SCHU ER LIFSCHULTZ, MYLES SACHS, and
      ASHBY ENTERPRISES, LLC
 7
 8                                 UNITED STATES DISTRICT COURT
 9                                CENTRAL DISTRICT OF CALIFORNIA
10
11    SCHUYLER LIFSCHULTZ; MYLES                           CASE NO.:           8:19-cv-19-1497
      SACHS; and ASHBY ENTERPRISES,
12    LLC,
                                                           COMPLAINT FOR DAMAGES
13                            Plaintiffs,                  FOR VIOLATIONS OF 42 U.S.C. §
                                                           1983
14    vs.
                                                           JURY TRIAL DEMAND
15    CITY OF SAN JUAN CAPISTRANO;
      J.R. TORREZ, indivldually, ..
16    ALEJANDRA MOLINA, 1.nd1v1dua11y;
      and DOES 1 through 100, lnclus1ve,
17
                              Defendants .
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19
20            Plaintiffs Schuyler Lifschultz, Myles Sachs, and Ashby Enterprises, LLC
21   (collectively, "Plaintiffs") by and through their counsel, complain against
22   defendants City of San Juan Capistrano, J.R. Torrez, Alejandra Molina, and Does l
23   through 100, inclusive (collectively, "Defendants") as follows:
24                                            INTRODUCTION
25            l.           This is an action brought by Plaintiffs to vindicate profound
26   deprivations of their constitutional rights caused by the persistent unlawful
27   overreach of the City of San Juan Capistrano ("City").
28            2.       During the past year, and continuing without interruption to date, the
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       1   City has engaged in a campaign of harassment and vicious targeting of Plaintiffs.
       2            3.        The City's conduct has been directly aimed at Plaintiffs, as well as to
       3   the tenants of certain industrial real property located at 32951 to 32961 Calle
       4   Perfecto, San Juan Capistrano (the "Property").
       5            4.        The City has used a series of weapons against Plaintiffs and the tenants
       6   of the Property. These include issuing unfounded civil citations to Plaintiffs, their
       7   associates, and the Property's tenants, and working in concert with the Orange
       8   County Sheriff ("Sheriff') and the Grange County District Attorney ("0CDA") to
       9   cause Mr. Lifschultz to be criminally prosecuted without any cause whatsoever.
      10                                JURISDICTION, VENUE, AND NOTICE
      11            5.        This action arises under the United States Constitution
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      12   ("Constitution") and laws of the United States, including Article III, Section l of
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      13   the Constitution, the Fifth Amendment and is brought pursuant to 42 U.S.C. §§
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      14   1981, 1983, and 1988. The federal question jurisdiction of this Court is invoked
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us
Z     15   pursuant to 28 U.S.C. §§ 1331 and 2201.
      16            6.        This case is instituted in the United States District Court for the
      17   Central District of California pursuant to 28 U.S.C. §1391, as the judicial district in
      18   which all relevant events and omissions occurred and in which one or more
      19   Defendants maintain offices and/or reside.
      20            7.        On May 10, 2019, Plaintiffs caused a notice of claim pursuant to
      21   California Government Code section 900 et seq. to be personally delivered to the
      22   City. While no such notice of claim need have been served as a prerequisite to
      23   maintain this action, in any event, the City failed to act on the claim within 45 days
      24   of its receipt of the same.
      25                                                 PARTIES
      26             8.           At times relevant hereto, Mr. Schuyler and Mr. Lifschultz have been
      27   residents of the State of Washington and citizens of the United States of America.
      28            9.            At times relevant hereto, Ashby Enterprises, LLC ("Ashby") has been
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 1   a Delaware limited liability company, which owns the Property and does business
 2   in California and this judicial district. Mr. Sachs is the owner and sole member of
 3   Ashby.
 4            10.          The City is a California municipal corporation and is the legal entity
 5   responsible for itself, its employees, and its agents. The City is a proper entity to be
 6   sued under 42 U.S.C. § 1983.
 7            l 1.         The City is properly sued directly under 42 U.S.C. § 1983 for its own
 8   and deliberately indifferent unconstitutional decisions, policies, practice, habits,
 9   customs, usages, training and derelict supervision, ratification, acquiescence and
10   intentional failures which were moving forces in the complained of constitutional
11   and statutory violations and resulting injuries.
12            12.          The City is also properly sued directly under 42 U.S.C. § 1983 for the
13   challenged final decisions of any and all final delegated decision makers, with
14   respect to the hereinafter challenged deliberately indifferent policies, decisions,
15   widespread habits, customs, usages and practices.
16            13.          At all times relevant hereto, J.R. Torrez was a citizen of the United
17   States and a resident of the State of California and was acting under color of state
18   law and within the scope of his employment in his capacity as a Code Enforcement
19   Officer employed by the City. Officer Torrez is sued individually.
20            14.          At all times relevant hereto, Alej andra Molina was a citizen of the
21   United States and a resident of the State of California and was acting under color of
22   state law and within the scope of her employment in her capacity as a Code
23   Enforcement Officer employed by the City. Officer Molina is sued individually.
24            15.          Plaintiff is presently unaware of the true names and capacities of
25   Defendants Does l through 100, and accordingly sues said Defendants by such
26   fictitious names. Plaintiffs will amend this complaint to set forth the true names
27   and capacities of said Defendants when ascertained and as necessary. These
28   fictitiously-named defendants are sued in their personal and official capacities.
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 1            16.      Each Defendant, both named and fictitious, is and was the principal
 2    and/or agent and/or partner and/or alter ego and/or employee and/or employer
 3    and/or.joint venture, conspirators, representatives and/or in some other capacity,
 4    however termed and/or described, of each of the other Defendants and/or is in some
 5    manner legally liable for the conduct and damages at issue in this action. Each
 6    Defendant, both named and fictitious, is and was at all material times acting within
 7    the course and scope of one or more of such relationships and with the express

 8.   and/or implied knowledge, direction, approval and/or ratification of each of the
 9    other Defendants, and are therefore jointly and severally liable for the claims
10    asserted herein.
11                                    STATEMENT OF FACTS.
12            17.      Plaintiffs incorporate all the foregoing paragraphs of this complaint as
13    if they were fully set forth herein.
14            18.      At all times relevant hereto, Mr. Sachs has been the owner and sole
15    member of Ashby, which itself is the owner of the Property more fully described
16    above, as well as other property located in Southern California.
17             19.     In a consistent and sustained course of conduct to present, the City and
18    its officials, directors, agents, and employees have been engaged in a campaign of
19    harassment and retribution against Plaintiffs.
20            20.      On information and belief, this overarching campaign has occurred at
21    the direction of, with the knowing acquiescence of, and/or the active ratification of
22    the City's prior City Manager Karen Brust, and its current City Manager Ben
23    Siegel. The City's City Manager is an apex decision- and policy-maker for
24    purposes of a municipality's liability under 42 U.S.C. § 1983.
25            21.      It is the long-standing and widespread custom, habit, practice, and/or
26    policy of the City to pursue Plaintiffs, as further detailed below. The City's long-
27    standing pursuit of Plaintiffs, as further detailed below, is so enshrined as to have
28    become a policy of the City.
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        1           22.       On information and belief, the City's animus against Plaintiffs is
        2   motivated by the hope that the Property will be sold to others.
        3            23.      The City has coordinated its campaign against Plaintiffs with Officers
        4   Torrez and Molina, the OCDA, the Sheriff, and the Orange County Fire Authority
        5   as part of the so-called San Juan Capistrano Police Services Group (the "Police
        6   Services Group"), an ad hoc task force whose raison d'etre has been the continued,
        7   coordinated pursuit of Plaintiffs via administrative, civil, and criminal prosecutions
        8   by these various agencies.
        9            24.      On information and belief, the City's participation in the Police
       10   Services Group (and its pursuit against Plaintiffs) via Officers Torrez and Molina,
       11   among others, was expressly, knowingly authorized and approved by the City's
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 z     12   Assistant City Manager Jacob Green, as well as City Manager Ben Siegel. The
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       13   City's participation in the Police Services Group was a matter of City policy at its
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       14   highest level.
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z      15            25.          As detailed below, the Police Services Group (and the individual
       16   municipal and county employees named below) were co-conspirators such that each
       17   is responsible for the wrongs of the other. At all times relevant, those participating
       18   in the Police Services Group's pursuit of Plaintiffs knew that the other participants
       19   planned to engage in the wrongful acts, and each participant agreed and intended
       20   that the wrongful acts be committed.
       21            26.      In a consistent and sustained course of conduct to present, as members
       22   of the above-described Police Services Group, Officers Molina and/or Torrez have
       23   descended on the Property countless times, and have at various times perpetrated
       24   the following conduct:                                                   ,
       25            .        Issuing successive unsupported notices of violation and/or
       26   administrative citations to Plaintiffs and/or their agents, as well as tenants of the
       27   Property;
       28            .            Contacting tenants of the Property, despite knowing that they were
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       1   represented by counsel,
       2           .         Encouraging tenants of the Property to make false and/or disparaging
       3   statements regarding Plaintiffs and/or their associates,
       4           •         Encouraging tenants of the Property to terminate their economic
       5   relationships with the ownership of the Property, and
       6            .        Encouraging the Property's tenants to pursue litigation against
       7   Plaintiffs and/or their associates.
       8            27.      For his part in the City's campaign against Plaintiffs, Officer Torrez in
       9   particular threatened tenants of the Property multiple times in his purported
      10   "enforcement" efforts against Plaintiffs. Officer Torrez's threats included that
      11   "things would only get worse" for the tenants, that Officer Toirez would "turn up
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 z    12   code enforcement" on the tenants, that Officer Torrez would "red tag" the entire
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      13   Property, and that the tenants should "just move" and the City would leave them
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      14   alone. By these comments, Officer Torrez made it clear that his true target was
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z     15   Plaintiffs.
      16            28.      Mr. Sachs and Ashby have suffered harm on account of the foregoing
      17   conduct. The City's conduct amounts to a regulatory and de facto taking as to the
      18   Property.
      19            29.      Despite formal written notice that Mr. Lifschultz does not own or
      20   manage the Property, and is not a manager or member of Ashby, the City has
      21   persisted in issuing a series of citations to Mr. Lifschultz and/or criminally pursuing
      22   him for certain occurrences on the Property, baselessly asserting that Mr. Lifschultz
      23   manages the Property and/or somehow otherwise has legal control over the
      24   Property.
      25            30.      In one instance, Officers Molina and Torrez and City Building Official
      26   Carlos Yado descended on the Property, and claimed that a Property contractor was
      27   removing certain trees without a permit. Without any reasonable basis, the City
      28   issued Mr. Lifschultz a series of civil citations, attempting to impose a total fine of
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 1   $1 ,000.
 2            31.      Mr. Lifschultz appealed the City's action to the Superior Court of
 3   California, County of Orange, which expressly found there was "no evidence"
 4   supporting the issuance of the citation to Mr. Lifschultz.
 5            32.      However, the City did not stop at pursuing Mr. Lifschultz in a civil
 6   context. The City also attempted to pursue Mr. Lifschultz criminally for purported
 7   street damage that the City claimed was caused by a large metal shipping container
 8   that had been dragged along a street adjacent to the Property, purportedly causing
 9   damage to the asphalt.
10            33.          The entire basis for the City's claim appears to have been fabricated:
11   witnesses indicated that the street was not in fact damaged.
12            34.      Despite having no direct evidence of Mr. Lifschultz's involvement, the
13   City and its Police Services Group co-conspirator Deputy Sheriff Padilla labored
14   mightily to concoct a connection to Mr. Lifschultz. Deputy Padilla, along with
15   City Code Enforcement Officers Torrez and Molina, harassed and attempted to
16   intimidate the Property's tenants to generate false statements and police reports in
17   support of the City's claims.
18            35.          Thereafter, the City and its confederates caused an unfounded arrest
19   warrant to be issued for Mr. Lifschultz for felony vandalism associated with the
20   purported street damage. The City and its confederates in the Sheriff' s office
21   circulated an ominous email that the Police Services Group should be on the
22   lookout for Mr. Lifschultz SO they could arrest him. The email included the
23   ominous statement, "Bottom line, full county service and happy hunting"
24   (Emphasis added.)
25            36.          The "happy hunting" email was forwarded directly to the City's
26   Assistant City Manager Jacob Green, as well as City Manager Ben Siegel. On
27   information and belief, neither Mr. Green nor Mr. Siegel ever expressed their
28   disagreement with that email, the sentiment expressed therein, or the plan outlined
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 1   therein. Mr. Green and Mr. Siegel thereby ratified the Police Services Group's
 2   planned malicious prosecution of Mr. Lifschultz, and accordingly made the City's
 3   participation in the same a matter of City policy at its highest level.
 4           37.       Rather than risk a physical arrest by the ill-intentioned Police Services
 5   Group, Mr. Lifschultz surrendered himself to the Superior Court of California,
 6   County of Orange, and was thereafter detained by the Sheriff.
 7            38..     The City's attempt to secure the criminal prosecution of Mr. Lifschultz
 8   had no cause or basis in fact, and ultimately failed. The OCDA dismissed the
 9   charges against Mr. Lifschultz, and the Superior Court found that Mr. Lifschultz
10   was "factually innocent" of the charges against him. The Superior Court therefore
11   also necessarily found there was no reasonable cause for the arrest or prosecution of
12   Mr. Lifschultz. (Cal. Pen. Code, § 851.8 ["finding of factual innocence ... shall
13   not be made unless the court finds that no reasonable cause exists to believe that the
14   arrestee committed the offense for which the arrest was made"].)
15            39.      The City and Officers Torrez and Molina have caused Plaintiffs to
16   suffer general and special damages, in amounts to conform to proof at time of trial.
17   The City and Officers Torrez and Molina have also caused Plaintiffs to expend tens
18   of thousands of dollars in legal fees and related costs in response to their baseless
19   pursuit of Plaintiffs and their associates in the administrative, civil, and criminal
20   arenas.
21            40.          The City and Officers Torrez and Molina have also caused Plaintiffs
22   other damages, in amounts to conform to proof at time of trial, as a result of their
23   conduct, including lost profits and lost economic opportunities as a result of their
24   oppressive conduct.
25            41.          The conduct of Officers Torrez and Molina as described herein was
26   intended by to cause injury to Plaintiffs and was despicable conduct carried on with
27   a willful and conscious disregard of the rights of Plaintiffs, or were intentional
28   misrepresentations, deceit, or concealment of material facts subjecting Plaintiffs to
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        1   cruel and unjust hardship in conscious disregard of Plaintiffs' rights. At all times
        2   relevant, Officers Torrez and Molina acted with the intent to deprive Plaintiffs of
        3   their property, legal rights, or to otherwise cause injury, such as to constitute
        4   malice, oppression, and/or fraud, thereby entitling Plaintiffs to punitive damages in
        5   an amount appropriate to punish or set an example of Officers Torrez and Molina.
        6            42.      Plaintiffs have at all times relevant acted reasonably to mitigate their
        7   damages.
       8                                      FIRST CLAIM FOR RELIEF
        9        42 U.S.C. § 1983 - Malicious Prosecution in Violation of the Fourth and
       10                  Fourteenth Amendments of the United States Constitution

4.
       11                              (By Mr. Lifschultz Against All Defendants)
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       12            43.      Plaintiffs incorporate all the foregoing paragraphs of this complaint as
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       13   if they were fully set forth herein.
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       14            44.      Mr. Lifschultz is a citizen of the United States and Defendants are
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 Z     15   persons for the purposes of liability under 42 U.S.C. § 1983. Defendants were at all
       16   times relevant acting under color of state law.
       17            45.      Any individual defendants to this claim, at all times relevant, including
       18   not limited to Officers Torrez and Molina, were acting under the color of state law
       19   in their capacity as agents and/or employees of the City and their acts or omissions
       20   were conducted within the scope of their agency, official duties, and/or
       21   employment.
       22            46.      At the time of the complained of events, Mr. Lifschultz had the clearly
       23   established constitutional right to be free from malicious civil and criminal
       24   prosecution without probable cause under the Fourth Amendment and in violation
       25   of due process under the Fourteenth Amendment.
       26            47.          Any reasonable agent or officer of the City knew or should have
       27   known of these rights at the time of the complained of conduct as they were clearly
       28   established at that time.
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 1            48.          Defendants and the Police Services Group violated Mr. Lifschultz's
 2   Fourth and Fourteenth Amended rights to be free from malicious prosecution
 3   without probable cause and without due process when they worked in concert to
 4   secure unfounded civil and criminal charges against him, resulting in his unlawMl
 5   confinement and prosecution.
 6            49.          Defendants and the Police Services Group conspired and/or acted in
 7   concert to institute, procure, and continue 1) a criminal proceeding against Mr.
 8   Lifschultz for purported street damage and 2) a civil citation proceeding for
 9   purported unpermitted tree-cutting without probable cause.
10            50.          Defendants engaged in the above-described conduct willfully,
11   maliciously, in bad faith, and in reckless disregard of la/Ir. Lifschultz's federally
12   protected constitutional rights.
13            5 l.         The foregoing criminal and civil proceedings for purported street
14   damage and unpermitted tree-cutting were all terminated in la/Ir. Lifschultz's favor.
15   The criminal charges against Mr. Lifschultz were dismissed without compromise
16   by Mr. Lifschultz, and he was found factually innocent of the same. As for the civil
17   citation for purported unpermitted tree-cutting, the Superior Court found that there
18   was no evidence for the issuance of such citation.
19            52.          The acts or omissions of Defendants as described herein intentionally
20   deprived Mr. Lifschultz of his constitutional and statutory rights and caused him
21   other damages. Defendants are not entitled to qualified immunity for the
22   complained of conduct.
23            53.          Defendants' unfounded pursuit of civil and criminal prosecutions of
24   Mr. Lifschultz were a matter of City policy at its highest level. The City's
25   Assistant City Manager Jacob Green, as well as City Manager Ben Siegel, were
26   directly involved in these efforts as detailed above.
27            54.          As a direct, foreseeable, and proximate result of Defendants' conduct,
28   Mr. Lifschultz has suffered general and special damages in amounts subject to

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 1   proof at time of trial. Mr. Lifschultz is further entitled to attorneys' fees and costs
 2   pursuant to 42 U.S.C. § 1988, as well as pre~judgment interest as allowable by
 3   federal law.
 4            55.      In addition to compensatory, economic, consequential and special
 5   damages, Mr. Lifschultz is entitled to punitive damages against Officers Torrez and
 6   Molina and each of the individual fictitiously-named Defendants under 42 U.S.C. §
 7   1983, in that the actions of each of those individual Defendants for their part in the
 8   foregoing were taken maliciously, willfully or with a reckless or wanton disregard
 9   of the constitutional rights of Mr. Lifschultz.
10                                SECOND CLAIM FOR RELIEF
11           42 U.S.C. § 1983 - Unlawful Taking of Private Property and Inverse
12        Condemnation in Violation of the Fifth Amendment of the United States
13                                            Constitution
14                         (By Mr. Sachs and Ashby Against All Defendants)
15            56.      Plaintiffs incorporate all the foregoing paragraphs of this complaint as
16   if they were fully set forth herein.
17            57.      Mr. Sachs and Ashby make this takings claim to this Court in the first
18   instance, as permitted by Knick v. Townshzp of Scott, Pennsylvania, 139 S.Ct. 2162
19   (20 19).
20            58.      Having an ownership interest in the Property, Mr. Sachs and Ashby
21   have vested property rights. Mr. Sachs and Ashby have made substantial
22   investments in the Property, including, without limitation, leasing out the Property
23   and making improvements thereto, in reliance on their legal rights to conduct lawful
24   and authorized business at the Property.
25            59.      Mr. Sachs and Ashby have legal and vested rights to conduct business
26   in connection with the Property, including but not limited to contracting with
27   tenants to occupy the Property, and to realize the economic benefits of their
28   investments in and reliance on such rights.
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 1             60.      The City's actions, as described above, have the effect of foreclosing
 2   Mr. Sachs and Ashby's vested rights. The City has interfered with Mr. Sachs and
 3   Ashby's ability to lawfully exercise their rights to freely and lawfully utilize the
 4   Property. The various City actors, as well as other members of the Police Services
 5   Group, engaged in the above-described unlawful conduct under color of state law.
 6             61.      The City's coordinated campaign against and unlawful targeting of
 7   Mr. Lifschultz, Mr. Sachs, and Ashby amounts to a regulatory and de facto taking
 8   of the Property, in violation of Mr. Sachs and Ashby's Fifth Amendment rights.
 9             62.      Defendants' actions were a matter of City policy at its highest level.
10   Cn information and belief, the City's Assistant City Manager Jacob Green, as well
11   as City Manager Ben Siegel, were directly involved in Defendants' efforts to
12   interfere with Mr. Sachs and Ashby's lawful exercise of their property rights.
13             63.      As a direct, foreseeable, and proximate result of Defendants' conduct,
14   Mr. Sachs and Ashby have suffered general and special damages, including past
15   and future lost profits, in amounts subject to proof at time of trial. Mr. Sachs and
16   Ashby are further entitled to attorneys' fees and costs pursuant to 42 U.S.C. §l988,
17   as well as pre-judgment interest as allowable by federal law.
18             64.      In addition to compensatory, economic, consequential and special
19   damages, Mr. Sachs and Ashby are entitled to punitive damages against Cfficers
20   Torrez and Molina and each of the individual fictitiously-named Defendants under
21   42 U.S.C. § 1983, in that the actions of each of those individual Defendants for
22   their part in the foregoing were taken maliciously, willfully or with a reckless or
23    wanton disregard of the constitutional rights of Mr. Sachs and Ashby.
24                                          PRAYER FOR RELIEF
25             WHEREFORE, Plaintiffs pray for judgment as follows :
26             l.           As to the first claim, general and special damages, costs, attorneys'
27    fees under 42 U.S.C. § 1988, pre-judgment interest, and punitive damages against
28
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  1    each of the individual Defendants, as well as any other relief this Court deems
  2    appropriate.
  3             2.       As to the second claim, general and special damages, costs, including
  4    past and future lost profits, attorneys' fees under 42 U.S.C. § 1988, pre-judgment
  5    interest, and punitive damages against each of the individual Defendants, as well as
  6    any other relief this Court deems appropriate.
  7                                  DEMAND_FOR JURY TRIAL
  8             Plaintiffs hereby demand a trial by jury pursuant to Federal Rule of civil
  9    Procedure 38(b) as to all issues so triable.
 10
 l l   Dated:         August 2, 2019                  NEWMEYER & DILLION LLP
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 13                                                   By: /s/ Jason Moberly Caruso
                                                          Jason Moberly Caruso
 14                                                       Charles S. Krolikowski
                                                          Attorne s for Plaintiffs SCHUYLER
 15                                                       LIFSCI ULTZ, MYLES SACHS, and
                                                          ASHBY ENTERPRISES, LLC
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